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 1                                                                                 JS-6
 2
                            UNITED STATES DISTRICT COURT
 3                         CENTRAL DISTRICT OF CALIFORNIA
 4                               WESTERN DIVISION
 5
     JITENDRA SAWANT, et al.                  Case No. 5:21-cv-00211-AS
 6
                                               [PROPOSED]
 7           Plaintiffs,
                                               ORDER GRANTING STIPULATION
 8      v.                                     OF DISMISSAL
 9
     UNITED STATES CITIZENSHIP AND
10   IMMIGRATION SERVICES
11           Defendant.
12

13
             GOOD CAUSE HAVING BEEN SHOWN, the parties’ Stipulation of Dismissal is
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     hereby GRANTED. This case is dismissed under the Federal Rules of Civil Procedure
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     41(a)(1)(A)(ii). Both Parties shall bear their own costs and fees. IT IS SO ORDERED
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     DATED: November 17, 2021
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                                                         / s / Sagar
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22
                                                HONORABLE ALKA SAGAR
23
                                           UNITED STATES MAGISTRATE JUDGE
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